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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                             __________ District of __________

        Community Financial Services Association
                of America, Ltd., et al.,                      )
                             Plaintiff                         )
                                v.                             )      Case No.     1:18-cv-295-LY
      Consumer Financial Protection Bureau, et al.,            )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Cooperative Baptist Fellowship                                                                               .


Date:          09/19/2018                                                               /s/ Rebecca Smullin
                                                                                         Attorney’s signature


                                                                              Rebecca Smullin, DC Bar No. 1017451
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